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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Criminal Case No. 19-cr-00098-CMA

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 1.       LEONARD LUTON,

            Defendant.
 ______________________________________________________________________

  PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY JUDGMENT
                  AGAINST DEFENDANT LEONARD LUTON
 ______________________________________________________________________

          This matter is before the Court on the United States’ Motion for Preliminary Order

 of Forfeiture for a Personal Money Judgment Against Defendant Leonard Luton

 pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2.

 The Court having read said Motion and being fully advised in the premises finds that:

      •   on July 10, 2019, the grand jury charged defendant Leonard Luton in Counts

          One through Ten with violations of 18 U.S.C. §§ 1349, 1341, and 2. The

          Superseding Indictment also sought forfeiture in the form of a personal money

          judgment against defendant Leonard Luton, pursuant to 18 U.S.C. § 981(a)(1)(C)

          and 28 U.S.C. § 2461(c), in the amount of proceeds obtained as a result of the

          scheme; and

      •   on February 13, 2020, a jury found defendant Leonard Luton guilty of Counts

          One through Three and Counts Five through Ten, in violation of 18 U.S.C. §§

          1349, 1341, and 2, which conviction provides a factual basis and cause to issue
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        a forfeiture order under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) for a

        personal money judgment in an amount to be determined by the Court at the

        Sentencing Hearing.

        Therefore, it is ORDERED that:

    •   an as yet undetermined amount is subject to forfeiture as proceeds obtained by

        defendant Leonard Luton through commission of the offenses in Counts One

        through Three and Counts Five through Ten, for which defendant Leonard Luton

        was found guilty;

    •   a Preliminary Order of Forfeiture for a Personal Money Judgment Against

        Defendant Leonard Luton shall be entered in accordance with 18 U.S.C. §

        981(a)(1)(C) and 28 U.S.C. § 2461(c) in an amount to be determined by the

        Court;

    •   pursuant to Fed. R. Crim. P. 32.2(e)(1), this Preliminary Order of Forfeiture for a

        Personal Money Judgment Against Defendant Leonard Luton shall be amended

        at the Sentencing Hearing after the Court determines the amount of proceeds

        obtained by defendant Luton as a result of the violations for which he was found

        guilty;

    •   pursuant to Fed. R. Crim. P. 32.2(b)(4), this Preliminary Order of Forfeiture for a

        Personal Money Judgment Against Defendant Leonard Luton shall become final

        as to the defendant at the time of sentencing and shall be made part of the

        sentence and included in the judgment; and




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    •   this Preliminary Order of Forfeiture for a Personal Money Judgment Against

        Defendant Leonard Luton may be further amended pursuant to Fed. R. Crim. P.

        32.2(e)(1).

        SO ORDERED this _________ day of _____________________, 2020.


                                         BY THE COURT:


                                         _________________________________
                                         CHRISTINE M. ARGUELLO
                                         United States District Judge




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